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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 LARRY G. PHILPOT,                                §
                                                  §
        Plaintiff                                 §
                                                  §
 V.                                               §           Civil Action No. 1:18-cv-00339-RP
                                                  §
 WOS, INC.                                        §
                                                  §
        Defendant.                                §



         PLAINTIFF’S AMENDED ACCEPTANCE OF OFFER OF JUDGMENT


       Pursuant to Federal Rule of Civil Procedure 68, Plaintiff Larry G. Philpot (“Philpot” or

“Plaintiff”), by and through his undersigned counsel, hereby accepts Defendant WOS, Inc.’s

(“Defendant”) Offer of Judgment made on April 9, 2019 in which Defendant will allow Judgment

to be taken against it and in favor of Plaintiff for the total sum of $40,000.00 (forty-thousand

dollars), which includes all amounts recoverable for damages, taxable costs, and attorney’s fees.

       Dated: April 23, 2019

                                                            Respectfully submitted,

                                                            HUTCHERSON LAW PLLC

                                                            /s/ Kenton J. Hutcherson
                                                            Kenton J. Hutcherson
                                                            Texas State Bar No. 24050798
                                                            Hutcherson Law PLLC
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                                                            ATTORNEY FOR PLAINTIFF



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                                 CERTIFICATE OF SERVICE



       I hereby certify that on April 23, 2019, I served the foregoing to the following via email,
as agreed by the parties:

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       Attorneys for Defendant


                                                    /s/ Kenton J. Hutcherson
                                                    Kenton J. Hutcherson




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